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MOTION UNDER 28 USC § 2255 TO VACATE,
~ SENTENCE BY A PERSON

SET ASIDE, OR CORRECT
Anited States Bistrict Court

IN FEDERAL CUSTODY

District
Name of Movant

Antonio Stacker

 

Prisoner No.
Place of Confinement

 

Western District of Tennessee

 

Docket No.
#20079-076 2: 16-cr~20115
FCI Memphis, P.O. Box 34550, Memphis, TN. 38184

 

 

(Antonio Stacker)
UNITED STATES OF AMERICA

 

(include name upon which convicted)
V. Antonio Stacker

(full name of movant)

 

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Court for the Western District of Ten

we GL N,

.. United States District
nessee

2. Date of judgment of conviction August 22 , 2016.

3. Length of sentence__/70 months

4. Nature of offense involved (all counts)

Felon in Possession of a firearm Title
18 U.S.C. §922(2)

5. What was your plea? (Check one)
(a) Not guilty & Trial by jury
(b) Guilty Oo

(c} Nolo contendere O

If you entered a guilty plea to one count or indictment, and a not guilty plea to another count or indictment, give details:

 

 

 

 

 

N/A

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; ros? 3 oa” ry
6. Kind of trial: (Check one) 322 -o om
(b) Judge only oO ane nr wh
43 UD,

7. Did you testify at the trial? S o
Yes BNo O
3. Did you appeal from the Judgment of conviction?
Yes ® No O

(2)

Nee Tat RA

 

 
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If you did appeal, answer the following:

(a) Name of cout_United States Court Of Appeals for the Sixth Circuit
(b) Result Denied

(c) Date of resu April 19, 2018

10. Other than a direct appeal from the judgment of conviction and sentence, have you previously filed any petitions,
applications or motions with respect to this judgment in any federal court?
Yes & No

Il. If your answer to 10 was “yes,” give the following information:
(a) {2} Mame of sot __Supreme Court ef the United States

(2) Nature of proceeding _Petition for a Writ of Certiorari

 

(3) Grounds raised Violation of Brady and Jencks material

 

 

 

 

(4) Did you receive an evidentiary hearing on your petition, application or motion?
Yes ONo @

(5) Result N/A
(6) Date of result _May 29, 2019

(b) As to any second petition, application or motion give the same information:

(1) Name of court N/A

 

(2) Nature of proceeding N/A

 

(3) Grounds raised

 

 

 

 

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(3)

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(5) Result___ N/A
(6) Date of result

(c) As to any third petition, application or motion, give the same information:
(1) Name of court N/A

(2) Nature of Proceeding

 

(3) Grounds raised N/A

 

 

 

 

 

 

 

(5) Result
(6) Date of Result

 

 

(d) Did you appeal, to an appellate federal court having Jurisdiction,
or motion?
(1) First petition, etc. Yes No O
(2) Second petition, etc. . Yes ONo Q
(3) Third petition, etc. Yes O No ®
(e) If you did not appeal from the adverse action on any petition,

the result of action taken on any petition, application

 

application or motion, explain briefly why you did not:
N/A

 

 

12. State concisely every ground on which you claim that you are being held unlawfully. Summarize briefly the facts supporting
each ground. If necessary, you may attach pages stating additional grounds and facts supporting same,

Caution: If you fail to Set forth all grounds in this motion, you may be barred from presenting additional grounds at a
later date.

uently raised grounds for relief in these Proceedings. Each
Statement preceded by a letter constitutes a Separate ground for possible relief. You may raise any grounds which you have

other than those listed. However, you should raise in this Motion all available grounds (relating to this conviction) on which
you based your allegations that you are being held in custody unlawfully.
Do not check any of these listed grounds. If you select one or more of these grounds for relief, you must allege facts. The
motion will be returned to you if you merely check (a) through (j) or any one of the grounds.
(a) Conviction obtained by plea of guilty which was unlawfully induced or not made voluntarily or with understanding of
the nature of the charge and the Consequences of the plea.
(b) Conviction obtained by use of coerced confession.

 

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(c) Conviction obtained by use of evidence gained pursuant to an unconstitutional Search and seizure.
(d) Conviction obtained by use of evidence obtained pursuant to an unlawful arrest.
(e) Conviction obtained by a violation of the Privilege against self-incrimination.

(f Conviction obtained by the unconstitvtional failure of the prosecution to disclose to the defendant evidence favorable
to the defendant.

(g) Conviction obtained by a violation of the Protection against double jeopardy. -
(h) Conviction obtained by action of a grand or petit j i

(i) Denial of effective assistance of counsel.
(j) Denial of right of appeal.

A. Ground one: See Memorandum of Law in Support:

Ineffective Assistance of Counsel

Scpetrung FACTS (tell your story briefly without Citing cases or lau-

 

 

 

 

 

 

 

 

B. Ground two: S¢e Memorandum of Law

Prosecutorial misconduct, Improper Jury Instruction and

Judge was biased.
Supporting FACTS (tell your story briefly without citing cases or law): See Memorandum:

 

 

 

 

 

C. Ground three: N/A

 

Supporting FACTS (tell your story briefly without citing cases or law): N/A

 

 

 

 

 

 

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D. Ground four: N/A

 

Supporting FACTS (tell your story briefly without citing cases or law):

 

 

 

 

 

 

13. If any of the grounds listed in 12A, B, C, and D were not previously presented, state briefly what grounds were not so
presented, and give your reasons for not presenting them: Attorney was ineffective assist-

ance of counsel and this can only be directed in a §2255 Motion.

 

 

 

 

 

14. Do you have any petition or appeal now pending in any court as to the judgment under attack?
Yes D No 0

15. Give the name and address, if known, of each attorney who represented you in the following stages of the judgment attacked
herein:

(a) At preliminary hearing Mary C. Jermann-Robinson (Assistant Public Defender)

 

200 Jefferson, Suite 200 , Memphis, TN. 38103

 

(b) At arraignment and plea

 

(At trial, Same as above

 

(d) At sentencing _ Same as above

 

 

 

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(e) On appeal Same as abobve.

 

(f) In any post-conviction proceeding Direct appeal, same as above, and as to

Writ of Certiorari.

t

(g) On appeal from any adverse ruling in a post-conviction proceeding

 

 

16. Were you sentenced on more than one count of an indictment, or on more than one indictment, in the same court and at
approximately the same time? ;
Yes 0 Noli |

| . :
17. Do you have any future sentence to serve after you complete the sentence imposed by the judgment under attack?
Yes O No &

(a) If so, give name and location of court which imposed sentence to be served in the fumre:___ N/A

 

 

70 months

 

(b) Give date and length of the above sentence:

 

(c) Have you filed, or do you contemplate filing, any petition attacking the judgment which imposed the sentence to be
served in the future?
Yes O No ®

Wherefore, movant prays that the Court grant him all relief to which he may be entitled in this proceeding.

 

Signature of Attorney (if any)

I declare under penalty of perjury that the foregoing is true and correct. Executed on

Mey 14, BU.

/ (daté)

Signature of Movant

 

(7)

 
